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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                )
In the Matter of the                            )
Federal Bureau of Prisons’ Execution            )
Protocol Cases,                                 )
                                                )
LEAD CASE: Roane, et al. v. Barr                )       Case No. 19-mc-145 (TSC)
                                                )
THIS DOCUMENT RELATES TO:                       )
                                                )
Roane, et al. v. Barr, 05-cv-2337               )
                                                )

                                             ORDER

        In accordance with the Court of Appeals’ November 18 ruling, In re Bureau of Prisons’

Execution Protocol Cases, No. 20-5329 (D.C. Cir. Nov. 18, 2020) and 5 U.S.C. § 706(2), it is

hereby ORDERED that the Federal Bureau of Prison’s 2019 Execution Protocol be set aside to

the extent it allows the dispensation and administration of pentobarbital without a prescription.

        Plaintiff’s motion for a temporary stay of execution is hereby GRANTED for the reasons

set forth in the accompanying Memorandum Opinion. It is further ORDERED that Defendants

(along with their respective successors in office, officers, agents, servants, employees, attorneys,

and anyone acting in concert with them) are enjoined from executing Plaintiffs until further order

of this court.

Date: November 19, 2020


                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge




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